     Case 8-10-08136-reg             Doc 12-1       Filed 11/08/11      Entered 11/08/11 14:48:33




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                          Chapter 7

ARTHUR O. ANDERSON,                                             Case No. 8-10-70260-reg
                                             Debtor.
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HYDROGROWERS INC.,                                              Adv. Proc. No. 8-10-08136- reg
JAN RIOS,
ALAN RIOS,
JOHN GOTTLIEB, and
GUY GERIG,
                                            Plaintiffs,

        v.

ARTHUR O. ANDERSON,
                                             Defendant.
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                                            Judgment

For the reasons set forth in the Court’s Memorandum Decision dated November 8, 2011, the

Debtor’s discharge is denied pursuant to § 727(a)(3) and (a)(4)(A). The Court also finds that the

Defendant committed defalcation while acting in a fiduciary capacity pursuant to § 523(a)(4)

when he disposed of the mold purchased by Hydrogrowers for his own benefit. Therefore, any

monetary benefit the Debtor received from the disposition of the molds is deemed a non-

dischargeable debt due and owing to the Plaintiffs. The remainder of the claims are dismissed.


Dated: Central Islip, New York                       By:       /s/ Robert E. Grossman______
      November 8, 2011                                         Robert E. Grossman
                                                               United States Bankruptcy Judge
